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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                       v.                                  No. 22-cr-15 (APM)

   EDWARD VALLEJO,
                                 Defendant.

                        MEMORANDUM IN SUPPORT OF MOTION
                           FOR JUDGMENT OF ACQUITTAL

       Pursuant to Fed. R. Crim. P. 29, Defendant Edward Vallejo respectfully submits the

following points and authorities in support of his motion for a judgment of acquittal.

                                        INTRODUCTION

       As someone who was not on any Oath Keepers planning calls or Signal chats prior to the late

afternoon of January 5, 2021, who made an independent decision to go to Washington, D.C. on his

own, and who was nowhere near the Capitol during the events of January 6, 2021, Defendant

Edward Vallejo stands in a unique position in this case. While he clearly supported election-related

protests, evidence at trial copiously documented Vallejo’s specific desire to see the outcome of the

certification process up to the very hour it started, while disproving any notion that he knew about

or supported any real-time decisions by others to use force to enter the Capitol or to hinder or delay

the process. At the very least, any reasonable mind considering the evidence at trial must harbor

doubts about Vallejo’s knowledge of or agreement with any uncommunicated decision by others to

interrupt the certification proceeding, and could not fairly exclude the hypothesis of innocence for

Vallejo. Accordingly, a judgment of acquittal for the specific theory and counts returned by the jury

is required. Curley v. United States, 160 F.2d 229, 233 (D.C. Cir. 1947).
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                                   STATEMENT OF FACTS

       A.    Oath Keepers and the 2020 Election

       Evidence at trial established that members of the Oath Keepers, including its founder,

Stewart Rhodes, were dissatisfied with the November 2020 election. For some, this dissatisfaction

included the belief that the election was unconstitutionally conducted due to Covid-related changes

made by state executive or judicial officials; it was also widely believed that voter fraud impacted

the outcome. Shortly after the election, Rhodes conducted a national call for Oath Keepers to

discuss plans to gather in Washington, D.C. to protest the election results. Gov. Ex. 1000.

Participants on the call included Rhodes, Kelly Meggs, Terry Cummings, Michael Adams, and

Jessica Watkins. Gov. Ex. 6857.

       Some members of the Oath Keepers, including some on the call, gathered in Washington,

D.C. on November 14, 2020 for an event dubbed the “Million Maga March.” Tr. 1506. This group

of Oath Keepers was hosted for the weekend by Thomas Caldwell, who provided space on his farm.

Group members attended rallies and events that weekend and provided personal security details. In

addition, as they had at numerous prior events throughout 2020, the Oath Keepers had a group

acting as a “Quick Reaction Force” (QRF). Tr. 2331. In an open letter discussing plans for the

event, Rhodes described one of the purposes of the QRF: “Oath Keepers will have some of our

most skilled special warfare veterans standing by armed, just outside of D.C., as a an emergency

QRF in the event of a worst-case scenario in D.C. (such as a Benghazi style assault on the White

House by communist terrorists, in conjunction with stand down orders by traitor generals).” Gov.

Ex. 1002; Tr. 1686–87.

       Throughout the fall and winter of 2020, Rhodes discussed many times his desire to see

President Trump take action to address what he saw as an unconstitutional and fraudulent election.

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These discussions included multiple open letters published on the Oath Keeper website as well as

discussions in Oath Keeper Signal chats. Gov. Ex. 1002; Gov. Ex. 1008. In general, Rhodes called

upon President Trump to declassify documents he believed would reveal corruption in the U.S.

government and to use the military to conduct new, clean, and constitutional elections. Id. He also

called upon President Trump to invoke the Insurrection Act, deeming the supposed fraud and

unconstitutional election as a kind of rebellion. Rhodes hoped that the Oath Keepers would be used

by President Trump under the Insurrection Act as part of the general militia. Rhodes continued

imploring President Trump to invoke the act through January 10, 2021, when he tried to deliver a

message to that effect to President Trump through Jason Alpers. Tr. 4068.

       Rhodes also expressed what he believed to be the necessary course of action if President

Trump did not invoke the Insurrection Act and President-elect Biden assumed the office of

President on January 20, 2021. Generally, Rhodes expressed the belief that if Biden took office,

citizens should declare independence from his “regime,” refuse to recognize unconstitutional acts,

organize locally to resist unconstitutional laws, and even prepare for a civil war. At trial, the

government introduced many of these sorts of statements as evidence of an intent to stop the

transfer of power; however, on their face, they uniformly referred to how to respond to the post-

inauguration “regime” of President Biden, not to any plan to violently stop Biden from assuming

office. See, e.g., Gov. Ex. 6748 (Msg. 1.T.2186.50) (“[E]ither Trump gets off his ass and uses the

insurrection Act to defeat the ChiCom puppet coup, or we will have to rise up in insurrection

(rebellion) against the ChiCom puppet Biden. Take your pick.”); Gov. Ex. 6803.2 (Msg.

1.S.233.1513 (To GA OK General Chat: “If he doesn’t use the Insurrection Act to keep a ChiCom

puppet out of the White House, then we will have to fight a bloody revolution/ civil war to defeat

the traitors.”)); Gov. Ex. 9073.1 (Msg. 1.S.696.19133) (“Critical Message for Oath Keepers and

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Patriots Part I,” stating, “Now that it is regretfully becoming clear that President Trump will not

be taking the decisive action we urged him to take, using the Insurrection Act and a declass/data

dump, let’s follow the Founders’ game plan, using their strategies and methods, which focused first

on declarations of illegitimacy, nullification (declaring unconstitutional acts to be null and void from

inception, and refusing to obey them), unified mass non‐compliance with unconstitutional and

oppressive actions and then on self defense, mutual defense, and resistance when the domestic

enemies of the Constitution come for us. That’s how the Founders did it, and it worked. There is

nothing new under the sun. Let us adapt their game plan to our current situation.”); Gov. Ex. 1008

(December 23, 2020 Open Letter stating that if Trump fails to act and allows Biden to assume the

presidency, there will there be a duty to “take up arms” and fight an “illegitimate regime,” after

“declaring independence” from that “regime”).

       During this same time period, the Oath Keepers took part in marches and rallies in Atlanta,

Washington, D.C., and other locations. Generally, as they had done at the “Million Maga March,”

the Oath Keepers had QRFs at these events in case there was violence between protestors requiring

intervention. Tr. 2331; Tr. 2337–41.

       B.    The January 5–6 Oath Keepers “Op” and the QRF

       In mid-December, the Oath Keepers announced that they would be participating in events

and rallies in Washington, D.C. from January 5–6, 2020. Gov. Ex. 9514. Rhodes established a Signal

chat group dedicated to planning the events and held several conference calls. On these calls and

group chats, the Oath Keepers discussed D.C. weapons laws and the need for strict adherence to

them. Tr. 3166. They also discussed providing personal security details to speakers and attendees

at various rallies. EV 13. Dozens of members of the Oath Keepers traveled to Washington, D.C.



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from several states to take part in these events, including Oath Keepers from states (such as

Wisconsin) who have never been implicated by the government as part of any conspiracy.

       As they had at previous rallies, Oath Keeper members discussed having a QRF where

members would store personal firearms. Rhodes stated that “this situation calls for” a QRF (EV

400),1 and Thomas Caldwell, Doug Smith, and Paul Stamey separately discussed logistics regarding

a QRF hotel (Tr. 2479).2 At trial, the government did not introduce any evidence discussing any

illegal or offensive purposes for the QRF, much less that it was part of a plan to forcibly interfere

with the certification of the election. On the contrary, testimony and documentary evidence

established that the QRF was understood by the Oath Keepers as (1) people that could help in an

emergency to save lives; (2) people that could help transport people out of D.C. and/or out of

harms’ way; and (3) people that could bring firearms to their owners in D.C. if lawfully authorized

by President Trump to do so under the Insurrection Act. See, e.g., EV 143 (Caldwell describing the

“QRF vehicle” as a way to “save lives” and to “get folks out” and “get them home”); Tr. 2478–

79 (reviewing messages stating, “Do not bring weapons into DC unless you are LEO with LEOSA

creds unless and until shit truly hits the fan. This is the exact same thing we did in both prior DC

Ops. We come armed to VA and stow our weapons there someplace safe and we go into DC without

guns (except for our LEOSA credentialed cops). Our firearms can be in the hands of a dedicated

QRF team who can link up with us if the shit truly hits the fan but otherwise they stay out of DC.

Understand?”); id. (“I am worried about pepper spray mainly because lately the Antifa types have




There was testimony that clashes had occurred among protestors at a December 14, 2020 rally in
1

Washington, D.C., and that a Trump-supporter had been stabbed. Tr. 2329.
2
 Testimony in Trial 1 established that Stamey and Caldwell were part of a North Carolina schism
with the national Oath Keepers.
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started using that right out of the gate on people”); Tr. 2665–66 (Berry) (Q. You planned to be

there for security detail, correct? A. That was the original intent, yes, ma’am…. Q. And to be -- and

the QRF, if there needed to be an emergency response, right? A. Yes, ma’am…. Q. It’s a counter-

offensive, it’s for defense if something really bad happens, right? A. Or if something fails, yes,

ma’am.”); Tr. 2668–69 (Berry) (Q. Do you recall that you spoke about the possibility that firearms

might be necessary? A. I do recall that. Q. When you spoke about that with those others, the

discussion was centered around if there was a major emergency that needed to be responded to,

correct? A. Correct.”); Tr. 3577–78 (Herrington) (Q. And there was no discussion about using

weapons to attack the Capitol, right, that you heard? A. Not that I heard, no, sir….Q. And you

understood that from what Mr. Rhodes was saying, he was saying that the militias, if called upon

under the Insurrection Act, would support whatever the government needed? A. Yes, sir. Q. They

wouldn’t be against the government, right? A. No, sir…. Q. Mr. Rhodes said that the Insurrection

Act could be used to call people up to support the President, correct? A. Yes, sir. Q. And to suppress

an insurrection of people trying to stop the President from enforcing the act? A. Yes, sir.”).

       Likewise, while some messages from individuals such as Meggs discussed January 5–6 as a

period that was “going to be wild” (Gov. Ex. 9514 (Msg. 1.S.656.9328)), the government did not

introduce any evidence at trial indicating that Oath Keepers had any plan to interrupt the

certification process or otherwise act unlawfully or with force on January 6. Indeed, out of tens of

thousands of pages of Signal chat messages, and countless additional Facebook and SMS messages,

the government could not find, and did not introduce, a single message discussing the prospect of

interrupting the certification, by force or otherwise. Rather, all concrete references to the use of

weapons prior to the inauguration occurred in the context of calls for President Trump to invoke

the Insurrection Act or to potential life-threatening clashes among protestors. See, e.g., Gov. Ex.

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9514 (Msg. 192.T.1415, 19); id. (Msg. 1.S.159.197); id. (Msg. 1.S.656.9846 9514); id. (Msg.

1.S.656.10101); id. (Msg. 2000.T.289); EV 143.

       Witness testimony further corroborated that there was no prior Oath Keeper plan to

interrupt the certification process as part of the January 5–6 “Op.” Government witness Joe

Herrington, who was with the Oath Keepers’ operational leader (Michael Greene) for the January

5–6, described in detail the process of Greene and others learning and reacting spontaneously to the

events of January 6:

       A. We heard explosions, and naturally it’s what – I don’t know if it’s what normal
          people do, that’s what soldiers do, they look toward the direction of the sound,
          and we saw smoke so we started moving toward that area, sir.
       Q. And at that point, no one had told you that it was the plan for you to go to the
          Capitol, right?
       A. No, sir. It was more or less, There’s something bad happening over there, we
          need to get there over and see what’s happening….there was no discussion
          about going in, it was more or less just like, What in the world’s happening
          right here….
       Q. Do you recall there being a discussion with Whip about whether to go into the
          Capitol at some point after you heard the explosions?
       A. Yes, sir, we were -- when we were standing – it was after -- it was quite a bit
          into the incident there. It was quite a bit of time into it.
       Q. So it was when you got to the Capitol but not right when you got to the Capitol?
       A. Correct.

Tr. 3581–82. Government witness Brian Ulrich also confirmed multiple times that there was no

prior plan to go to the Capitol and described how he decided to enter the Capitol in real time:

       Q. How long did you pause there before entering [the Capitol] yourself?
       A. Probably four or five minutes.
       Q. And in those four or five minutes, what were you doing? What were you
          thinking?
       A. Kind of the same. I just -- I was battling out the fact that I knew going in there
          was wrong with, this is a moment that, you know, I feel like I’ve got to do
          something.
       …
       Q. When you left the Mayflower, you told the FBI you didn’t know why you were
          going to the Capitol, right?
       A. Correct.

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 Q. There was no plan that you were aware of, right?
 A. Yeah. There was no -- no specific discussion….
 Q. Along the way, Mark Grods said to you, “We’re just going to meet up with
    some other Oath Keepers”?
 A. Correct.
 Q. And that’s all you knew?
 A. At that time, yeah.
 Q. Now, at some point…you walked through -- you had a -- you made a decision
    to walk through the doors….
 A. Yes….
 Q. And you had a brief exchange with Jackson, and he made it clear he wasn’t
    going inside, right?
 A. Correct.
 Q. So then just you and Grods went inside together?
 A. Yes.
 …
 Q. But at no point did you think you were there to link up with those other Oath
    Keepers for the purpose of attacking the building, right?
 A. No one had -- no one had mentioned attacking the building.
 …
 Q. And at no point on the 5th or the 6th did you have any conversation with
    anybody about using force to interfere with whatever proceeding Congress was
    going to conduct that day, did you?
 A. Correct.
 Q. And you didn’t hear anybody else talk about that did you?
 A. Correct….
 Q. There had been no conversations about using force among the Oath Keepers
    that you were with?
 A. On the 5th and the 6th?
 Q. Correct.
 A. No.
 Q. When you came to Washington, D.C., you had no plan to try to stop the
    certification, correct?
 A. No.
 Q. And you had no plan to try to violently or forcibly keep Joe Biden out of the
    White House, right?
 A. No.
 Q. You did hope that somehow, in a legal way, Trump would be able to reveal
    fraud and in your view the election would be vindicated, correct?
 A. Yes.
 Q. But you only wanted to do that through legal means, right?
 A. Yeah, I was wanting him to use whatever legal means he had at his disposal.
 Q. And that included, your understanding was he might use the Insurrection Act,
    right?
 A. Yes.

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       Q. And you believed that he could use the Insurrection Act to legally, under his
          authority as President, to do things like recount the votes, right?
       A. That’s what I was hoping for, yeah.
       Q. And if called upon under the Insurrection Act, you believe the Oath Keepers
          might be able to provide services to the President of the United States, right?
       A. That was the -- that was the consensus.
       Q. And you had no plan -- if Mr. Trump did not use the Insurrection Act and
          bowed out, you had no plan to stop Joe Biden from taking the oath of office,
          correct?
       A. Yeah, nothing was discussed beyond that…for a specific action on the 6th.
       Q. So no Oath Keeper that you ever spoke with discussed with you a plan to
          forcibly stop Joe Biden from becoming President, correct?
       A. Correct.

Tr. 3862; 3887–88; 3891; 3892–93; 3921–22.

       Finally, Caleb Berry also confirmed that his first awareness of any intent to interfere with

the certification process occurred immediately before Line 1 ascended the stairs at the Capitol

around 2:35 p.m.:

       Q. You planned to be there for security detail, correct?
       A. That was the original intent, yes, ma’am.
       …
       Q. When you got close to the Capitol building, did there come a time when you
          were in a huddle with other members of your Oath Keepers group?
       A. Yes, sir….
       Q. And what was Kelly saying?
       A. Kelly was saying that two of our guys had got separated -- two of the Oath
          Keepers got separated from the group and had walked up the stairs. And he
          also said that we were going to try to stop the vote count….
       Q. And after the huddle broke up, did you all walk in a certain direction?
       A. We did.
       Q. Towards what?
       A. The stairs up to the entrance.

Tr. 2665; 2618. And these denials were consistent with other denials by witnesses in the first trial,

who uniformly denied that there was any Oath Keeper plan to disrupt the certification process. See

ECF 435-1 at 13–16 (describing testimony of Mike Adams, Terry Cummings, Jason Dolan, and

Graydon Young).



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       Trial evidence from the events of January 6 also documented facts inconsistent with any

prior Oath Keeper plan to interrupt the certification that day. For example, messages established

that Rhodes did not know where other Oath Keepers were during the key time-period, including his

operational leader. Gov. Ex. 9552 (Msg. 1.S.159.1046) (“Whip, what’s your location? I’m trying to

get to you.”). Indeed, Rhodes did not even know where he was during these events, wrongly telling

people that he was on the south side of the Capitol when he was actually on the northeast side. Tr.

2918. Rhodes also was caught flat-footed without his helmet or other gear, which he had left behind

the stage at a rally. EV 142. And other members, including Caleb Berry, did not even have their

gear, having been instructed to leave it behind so they could attend a rally without any foresight of

what was to follow at the Capitol. Tr. 2615. Video evidence from Defendant Minuta of his golf cart

ride to the Capitol documented in real-time the spontaneous nature of Line 2’s response to reports

of the events at the Capitol and its lack of any planned coordination with Oath Keepers from Line

1. Gov. Ex. 1508. And messages between Rhodes and other Oath Keepers between 1:45 p.m. and

2:24 p.m. documented the Oath Keepers’ real-time confusion regarding what was happening at the

Capitol, as well as the fact that Congress had called a recess before any Oath Keepers even arrived

at the scene. See EV 109 at 2 (“Are we SURE that they are actually Patriots and not those bad actors

who are dressed as patriots from word we had been getting that was a possibility?”); id. at 4

(“Who’s storming what building??”); id. at 5 (“SUpposedly Patriots - watching the live feed right

now - and at the Capitol. It is in lock down right now and apparently Congress has called a

recess............”); id. at 7 (“ANTIFA infiltrating as MAGA with backwards red hats”).

       In sum, the documentary and testimonial evidence at trial demonstrated conclusively that

any possible agreement to enter the Capitol was formed, if at all, between individual Oath Keeper

members as they marched to the Capitol, huddled near the Capitol, or on the way up the steps of

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the Capitol. Indeed, the government’s theory at trial appeared to be that a 2:32 p.m. to 2:33 p.m.

three-way call between Rhodes, Meggs, and Greene was the key moment when an agreement to

interrupt the certification was solidified, with Meggs moving up the Capitol steps immediately

afterward. Gov. Ex. 1500.2; Gov’t Ex. 1503.1; Tr. 2939. See also Trial 1 Tr. 9911:8–11 (Nov. 18,

2022) (“The defendants are not charged with entering into an agreement ahead of time, ahead of

January 6th, to storm the United States Capitol. That is not the allegation in this case.”); Trial 1

Tr. 10296: 5–8 (Nov. 21, 2022) (“Let me be clear on behalf of the United States of America, we do

not allege a specific plan to storm the United States Capitol. We never have and we are not now.

We do not have to prove a plan.”).

       C.    Evidence Regarding Mr. Vallejo

       Defendant Vallejo had a different path to Washington, D.C. than all other defendants. The

trial evidence established that Vallejo was not part of any Oath Keepers conference calls or

discussion groups prior to arriving in the D.C. area on January 5, 2021. Rather, he independently

made plans in December to go to Washington with three friends without knowing that Rhodes

planned to be there. The evidence established that during this timeframe, Vallejo viewed a podcast

interview with Sam Andrews calling for ordinary Americans to join an armed march in Washington

on January 4, 2021 to demand accountability for election fraud and for the lawful arrest and

indictment of supposedly corrupt officials. EV 127; EV 709; Tr. 1962–63, 2342–49, 2353; EV 139 at

2 (“Sam Andrews unveils plans to appear in Washington, DC on January 4, 2021 to demand

government accountability”); id. at 3 (“Sam Andrews…announces the plan to assemble a large

group of armed patriots on January 4, 2021, in Washington, DC to lawfully and legally petition the

US government to take action against the treason and sedition of elected and appointed of public

officials.”). In the interview, Andrews and the host repeatedly stated that that the intent was to

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march peacefully while armed as an expression of the marchers’ exercise of their “First and Second

Amendment rights at the same time.” EV 709. Andrews also discussed the possibility that Trump

might invoke the Insurrection Act, and discussed high-ranking former military officials who

supported that option. Id. Nowhere in the two-hour interview did Andrews discuss January 6th or

the certification process. Tr. 1957–58, 1960–63, 2341–49, 2353, 2355–56, 2469–74, 2514–16. Vallejo

sent a link to the interview to Kelly Carter, a longtime friend in Arizona, and Carter responded with

a text agreeing to go to Washington.

       Prior to setting out for D.C., Vallejo and his three friends made a Signal chat group to discuss

their trip amongst themselves. In this group, as well as in text messages sent to others, Vallejo

discussed the certification process with eager anticipation. See, e.g., EV 122; EV 123. There was no

evidence introduced at trial that could give rise to an inference that Vallejo had any intent to

interrupt the certification process or otherwise act unlawfully when he set out for D.C. On the

contrary, Vallejo identified with great excitement specific senators and representatives that planned

to lodge formal objections during the process, EV 122; EV 123, and expressly stated that his purpose

in going to D.C. was to hold Congress’s “feet to the fire” during the certification process, EV 183.

See also Tr. 2356.

       After they made plans to go to Washington, one of Vallejo’s companions, Todd Kandaris,

reached out to Rhodes to ask if he would be in D.C. at the same time. EV 101. Rhodes did not

recognize Kandaris’s number and did not remember him at first. Id. Rhodes asked Kandaris how

many people were coming with him and whether they would be “attendees or speakers or security

volu[n]teers?” Id. Kandaris replied: “Just as volunteers, as far as I know noone is anticipating

speaking. We are rifles, man power, warm bodies there to support the process and the President.”

Id. While the government made much of this “rifles” comment by Kandaris at trial, he used that

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word in the context of stating that Vallejo’s group would be available as “security volun[t]eers”—

a role that usually involved being armed where lawful. And Vallejo had already approvingly

forwarded the podcast calling for lawful “First and Second Amendment” activity. EV 709. Nothing

in the comment suggested that Kandaris planned to interrupt the certification, and in fact he

expressly stated that he was coming to “support the process.” Id.

         The next day, Kandaris asked Rhodes where “staging” would be for “technical equipment

and ‘supplies.’” Id. Rhodes did not respond. Three days later, after getting to western Virginia,

Kandaris asked Rhodes whether there is a “rally point.” Id. Vallejo also asked Rhodes via text

message for the location of the “encampment.” EV 102. Rhodes directed Vallejo to contact Meggs,

and Vallejo texted Meggs asking for the “campground address.” Meggs responded with the address

for the Comfort Inn in Ballston, Virginia. This single text from Meggs was the first time that Vallejo

learned that he would not be going to a campground and the only time he had any contact with

Meggs.

         Vallejo arrived at the hotel on January 5, 2021. Unlike Stamey and Kenneth Bittner, who

stayed at the Comfort Inn with firearms from their respective Oath Keepers groups, Tr. 1548,

Vallejo and Kandaris immediately left the hotel and joined Oath Keepers providing security at an

event at the Supreme Court, Tr. 2490–91. Around 4:30 p.m., Vallejo was added to the “DC OP:

Jan 6 21” Signal chat group for the first time. EV 124. Vallejo provided rides to Oath Keeper from

South Carolina to Freedom Plaza and parked his truck. Id. He later could not find his truck and had

to take an Uber back to the Comfort Inn. Id.

         The government’s opening statement claimed that the next day, January 6, 2021, Vallejo

“was staged at a Virginia hotel just across the river,” Tr. 889, and “had…those rifles ready to rush

them into D.C.…to attack the United States Capitol building,” Tr. 888. However, the trial evidence

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established that on the morning of January 6, Rhodes assumed that Vallejo would be going into

D.C.—not staged in Virginia—and that Vallejo also had that as his plan. This was established

through messages on the morning of January 6 showing that (1) Rhodes asked Vallejo if he needed

a ride into the city; (2) Vallejo stated that he had a ride when his team members woke up; (3) Vallejo

asked about bringing his boarding cutlass; (4) Vallejo asked about bringing a drone; and (5) Rhodes

said to bring the drone. EV 125. And indeed, Vallejo did go into D.C., leaving the hotel around 11:50

(EV 250)—the worst possible time to be leaving for D.C. to look for a lost truck if the truck were

part of a plan to interrupt a 1:00 p.m. certification proceeding with “staged” weapons from the

Comfort Inn. There is thus no evidence from which to draw a reasonable inference that Vallejo was

“staged” at the hotel in order to bring weapons in support of any forcible or unlawful activity on

January 6.

       Vallejo’s late departure to D.C. on January 6 followed his participation in the podcast,

“Declare Your Independence” with Ernest Hancock. Gov. Ex. 1054. At trial, the government relied

heavily on four comments by Vallejo during this podcast:

       (1) “The American people are going to be told today that we have liberty and justice
           for all or they’re gonna be told fuck you…okay…and if, and if they’re told fuck
           you, that’s going to be the declaration of a guerrilla war.”

       (2) “I’m just praying to God that Trump has his head on fucking straight and he
           knows what he’s doing. He’s got the machinations behind him, he’s got all the
           proof in the world and he’s gonna bring the fucking hammer down….[T]hat’s
           our only, only hope. Thats it. If that doesn’t happen, then shit is on.”

       (3) “I am the motherfucker that’s gonna fix it for them. If they tell me today it’s
           broken.”

       (4) “I’ve been telling people this for years. I’m the guy that everybody said no, Ed,
           you can’t shoot ‘em yet, it’s too soon. No, Ed, you can’t shoot the bastard yet,
           it’s too soon. Well…about five six months ago…they quit telling me.”



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Id. Despite the martial nature of this rhetoric, however, none of Vallejo’s comments—made on the

very morning of January 6, 2021—evidenced any desire to hinder or delay the certification process.

On the contrary, they explicitly expressed hope in the president and the process and spoke only in

conditional terms about what might follow “if” the president failed to present enough evidence to

convince Congress to uphold the anticipated objections that Vallejo had been discussing for weeks.

       Immediately after expressing his hopes for the outcome of the certification process, Vallejo

headed into D.C., away from any “staged” weapons at the Comfort Inn. Vallejo did not find his lost

truck until 1:19 p.m., well after the certification process had begun. When he found it, he wrote,

“Eureka! Truck found 😊,” and then made his way back to the hotel, arriving around 2:25 p.m. In

between finding his truck and arriving at the hotel, several messages were posted onto the “DC Op:

Jan 6 21” Signal chat group discussing violence and chaos at the Capitol. See EV 104 (“American

blood in the Capitol steps. Officers down.”); id. (“An activist just got in this van. Not sure what

side he is on...”); id. (“Flash grenades / explosions going off now at Capitol Grounds.”); (“Tear

gas at the capital. Several officers hurt”); (“I think the Police are going to be overwhelmed…more

will join into the frey”). In the context of these messages, Vallejo posted to the Signal group at 2:24

p.m.: “Vallejo back at hotel and outfitted. Have 2 trucks available. Let me know how I can assist.”

He then texted a friend, “The People have taken the Capital and Congress is in bedlam & locked

down.” Gov. Ex. 9552 (Msg. 210.T.6.2). And he sent another message to the Signal group stating:

“QRF standing by at hotel. Just say the word...” EV 104.

       The government argued at trial that these messages reflected “an offering to come to D.C.

…outfitted with guns.” Tr. 4425; Tr. 4408 (“Outfitted with what? Guns.”). However, the

evidence at trial foreclosed any reasonable inference that Vallejo’s offers of assistance reflected a

conspiratorial agreement to forcibly interrupt the certification process, much less to bring weapons

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for that purpose. First, testimony and video evidence established that Vallejo never put any “guns”

in his truck on January 6. Tr. 3181–84. Second, documentary and testimonial evidence established

that there was no Oath Keeper plan to interrupt the certification prior to January 6, supra, and

Vallejo could not have known that there were any in-person or telephone communications where

entering the Capitol may have been discussed. Indeed, Vallejo’s 2:24 p.m. offer of assistance was

made ten minutes before the three-way telephone call where Meggs, Greene, and Rhodes allegedly

discussed entering the Capitol just prior to Line 1 ascending the stairs. Gov. Ex. 1500.2; Gov’t Ex.

1503.1; Tr. 2939. Thus, there is no basis to reasonably infer that Vallejo knew that Oath Keeper

members planned to enter the Capitol by 2:24 p.m. Third, the general nature of Vallejo’s initial

message (“Let me know how I can assist”) is inconsistent with any plan or agreement to bring

weapons for offensive purposes. Finally, even if being personally armed was part of Vallejo being

“outfitted,” the evidence at trial established that the avowed purpose of the QRF for the Oath

Keepers was to help save lives and extricate people from dangerous situations, with arms if

necessary. EV 143; See also EV 100 (discussing use of QRF boats to “exfill, Escape and Evade”);

EV 172 (discussing “a QRF that will be specifically trained for hot extract”). Except as part of a

presidential response under the Insurrection Act, no document or testimony at trial suggested that

“QRF” (whether as a general term or as its January 6 embodiment) would have been understood

as part of any offensive, violent plan. Thus, the only reasonable interpretation of Vallejo’s

messages—and certainly a reasonable one—was as an offer of help in the context of “bedlam” and

“SHTF”—the explicit purpose of the QRF. EV 400 at 4.

       At trial, the government also argued that the fact that Vallejo returned to the hotel instead

of remaining near the Capitol supports an inference that he had planned to be a conveyer of weapons

in support of unlawful force and violence on January 6. Tr. 4409. This too is not a reasonable

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inference in light of facts established at trial. First, trial evidence established that there were road

closures that would have prevented Vallejo from getting near the Capitol. EV 13. Indeed, in an

unintroduced portion of the January 7th “Declare Your Independence” podcast, Kandaris

explained that he and Vallejo were routed out of the city by police:

         [W]e could only observe from afar because we were not allowed to go past the
         barriers of the spokes to the wheel of the center city at that point...the center of the
         Capitol itself, and then basically we were relegated to driving out of the city because
         the police and everyone were directing all that traffic out of the city and there was
         really nowhere to turn because they had blocked off all turns left or right and you
         basically had one path out of the city.

ECF 102-1 at 23 (Ex. 4). Second, evidence established that Vallejo was driving between roughly 1:20

p.m. and 2:20 p.m., and there was no evidence that Vallejo was aware of the extent of the “bedlam”

at the Capitol prior to his 2:24 p.m. message. EV 104; Gov. Ex. 9552 (Msg. 210.T.6.2). Third, video

evidence showed that Vallejo was not wearing any Oath Keeper insignia when he went into the city,

EV 250, so he would have needed to get “outfitted” to have been recognizable as an Oath Keeper

in the midst of any “bedlam.” Finally, because of known “street closures” expressly discussed by

the Oath Keepers, the established QRF rally points were on “the edge” of D.C. near the Lincoln

memorial, not near the Capitol. EV 104 at 4. Thus, returning to the hotel and offering assistance

from there would have been consistent with prior expectations of where to meet and transport

people out of the city. Indeed, after his first two offers of assistance, Vallejo continued to send

messages that explicitly referred to evacuation and exfil. EV 104 at 9 (“I have 2 pickups and 1 hour

11 minutes to exfil whomever needs it.”); id. at 11 (“Evacuation of the Capitol Grounds by the NG

& LEO has been ordered by the Mayor.”); id. at 12 (“will monitor all night and transport anyone

that meets us on the perimeter”).3


3
    Someone named “Nick” also offered to “exfil” people. EV 104 at 10 (“I can seat 5 and exfil”).
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       After being routed out of the city by police, there was no evidence at trial that Vallejo learned

that individual Oath Keepers made decisions between 2:00 p.m. and 3:30 p.m. to interrupt the

certification process—which had already been halted before any Oath Keeper entered the Capitol—

much less that Vallejo agreed with such a plan. On the contrary, the only evidence at trial concerning

Vallejo’s knowledge of Oath Keeper activities near the Capitol prior to 4:00 p.m. consisted of

(1) Rhodes asking the whereabouts of Greene and others and calling for any Oath Keepers “not on

mission” to try to find him outside the Capitol; (2) debates and confusion regarding who was

attacking the Capitol; and (3) references to Oath Keepers providing assistance. All other references

to what was occurring at the Capitol in the Signal chat group—the only basis in evidence for

determining what Vallejo knew about other Oath Keepers’ actions—described the crowd generally

as “patriots” or “ANTIFA” without indicating that individual Oath Keepers joined with the

“patriots” to try to stop the certification process.

       To be sure, there was evidence that Vallejo sympathized with the viewpoint of protesters on

January 6. When Rhodes stated that “[t]housands of ticked off patriots spontaneously marched on

the Capitol and sent the message that they will not live under an illegitimate ChiCom puppet

regime”—spontaneously, not as part of an Oath Keeper plan—Vallejo responded that “We’ll be

back at 6 am TO DO IT AGAIN.” EV 105. However, there was no evidence at trial supporting any

reasonable inference that Vallejo agreed with or supported any forcible action to break into the

Capitol or to halt or hinder the certification process. The “DO IT AGAIN” comment referred to

“march[ing]” and “sen[ding] a message”—protected First Amendment activity. Moreover, it

referred to repeating such First Amendment activity the next day, after Vallejo was known to have

anticipated that the certification process was going to be over. EV 105; Tr. 4135 (quoting Vallejo’s

prediction that Biden would be certified that night). And evidence at trial established that Vallejo,

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who was not at Capitol, (1) spent considerable energy trying to figure out whether “patriots” or

“ANTIFA” forcibly breached the Capitol, and (2) believed that ANTIFA was responsible. EV

124.1B; EV 178; EV 150B. Even Vallejo’s 2:32 p.m. statement early on in the events that “The

People have taken the Capital,” Gov. Ex. 9552 (Msg. 210.T.6.2)—which occurred before he had

begun reviewing videos to determine who was responsible—did not express support for any

violence or force, and used a term (“taken”) that trial evidence established referred in Vallejo’s

mind to nonviolent “surround[ing] the Capitol building” as a means of sending a message to

Congress to “do the right thing” during the certification process. EV 150B.

       The only other relevant evidence of Vallejo’s knowledge or state of mind during this

timeframe in the government’s case was a joke Vallejo made to Ernest Hancock at 3:47 p.m. stating,

“So have you secured the Arizona capital yet, slacker? Waitin’ on you now 😆.” EV 124.1B at 5.

But this joke was preceded and followed by statements reflecting Vallejo’s belief that ANTIFA was

responsible for the violence at the Capitol, id. at 2–4, 6; it referred to a building having nothing to

do with the certification process; and trial evidence included multiple statements by Vallejo to

Hancock referring to violence at the Capitol as “domestic terrorism” that he did not support (Tr.

4157) and approving of a video of Trump supporters stopping violence at the Capitol and opposing

lawlessness with chants of “WE ARE NOT TIFA” (EV 150B, EV 903). Thus, this insensitive joke

aside, there was no evidence at trial establishing beyond a reasonable doubt that Vallejo agreed with

any forcible conduct by protestors seeking to hinder or delay the certification process, much less

proof that he knew that Oath Keepers—his alleged co-conspirators—had made individual decisions

to join protestors entering the Capitol in the 2:35 p.m. to 3:30 p.m. time-period with that purpose

in mind.



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       After the events at the Capitol on January 6, discussions began on the main Signal chat group

regarding what to make of the event and how to respond. In its case, the government relied on

statements by Vallejo from this time period that in his view, it was not “over”; that Trump had not

yet conceded; that people should continue “march[ing] and that he “had food for 30 days”; that

“After action reports will be dated 1/21” (EV 175); that after the certification, “We are AT WAR”;

that after the certification, Vallejo expected millions to come to D.C. and continue protesting; that

after the certification, Vallejo “probe[d] their defense line”; and that after the certification, Vallejo

traveled to Texas, where he expected Rhodes would be. However, the trial evidence established

that from January 6 until he returned home to Arizona, Vallejo continuously sought to follow what

he understood as the lawful directives of President Trump, as “Commander-in-Chief,” Gov. Ex.

9554 (Msg. 1.S.159.1215), and to determine whether he had in fact conceded, EV 176.2; see also EV

176 (stating that there was a “POTUS directive” to go to Texas and sending articles discussing

Trump’s legal options); id. (expressing belief that President Trump was in Texas); EV 176.1

(“Situation Update” discussing Trump’s legal options); Tr. 4062 (stating that Vallejo would

“depart when cleared by my Commander”); id Tr. 4157 (establishing that Rhodes claimed to be in

direct discussions with President Trump).

       Moreover, even after the certification, while using “WAR” rhetoric, Vallejo was circulating

the “WE ARE NOT TIFA” video castigating violent actors and calling on protestors not to act like

ANTIFA. EV 178. He also condemned those who attacked the Capitol as “domestic terroris[ts]”

who “hijacked” the scene by “beating on…windows” and using pre-stashed instruments like bricks

and propane tanks. EV 150B. In any event, these post-certification comments and actions are

ultimately tangential to Vallejo’s counts of conviction, since the theory of conviction reflected in

the jury’s verdict is limited to a conspiracy to hinder or delay the certification process on January 6.

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                                      LEGAL STANDARDS

       Rule 29(a) of the Federal Rules of Criminal Procedure provides that “[a]fter the

government closes its evidence or after the close of all the evidence, the court on the defendant’s

motion must enter a judgment of acquittal of any offense for which the evidence is insufficient to

sustain a conviction.” Fed. R. Crim. P. 29(a). In reviewing a Rule 29 motion, “the relevant question

is whether, after viewing the evidence in the light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime beyond a reasonable doubt.”

Jackson v. Virginia, 443 U.S. 307, 319 (1979). As the D.C. Circuit has explained, “if, upon the whole

of the evidence, a reasonable mind must be in balance as between guilt and innocence, a verdict of

guilt cannot be sustained.” Curley, 160 F.2d at 233. Put differently, a Court “cannot let a case go to

the jury unless there is evidence of some fact which to a reasonable mind fairly excludes the

hypothesis of innocence.” Id.

       When conducting this inquiry, the Court must “accord[] the government the benefit of all

legitimate inferences.” United States v. Weisz, 718 F.2d 413, 437 (D.C. Cir. 1983). However,

“charges of conspiracy are not to be made out by piling inference upon inference.” Ingram v. United

States, 360 U.S. 672, 680 (1959); cf. United States v. Griffith, 867 F.3d 1265, 1273, 1278 (D.C. Cir.

2017) (holding that a search warrant affidavit requiring three “layer[s] of inference” was

insufficient even under the forgiving standard of “probable cause”). Likewise, “‘[c]onjecture and

surmise regarding what a defendant may have intended or known is insufficient to support a

conviction’ in a conspiracy case.” United States v. Stone, No. 10-20123, 2012 WL 1034937, at *10

(E.D. Mich. Mar. 27, 2012) (quoting United States v. Coppin, 1 F. App’x 283, 291 (6th Cir. 2001).

Rather, [t]he government is required to present evidence of the defendant’s intent, knowledge of

and agreement to join a conspiracy. Absent such evidence, the government’s case will not succeed

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merely because there is something ‘fishy’ about the defendant’s conduct.” Coppin, 1 F. App’x at

291.

         “The elements of a conspiracy may be proven entirely by circumstantial evidence, but each

element of the offense must be proved beyond a reasonable doubt.” United States v. Wexler, 838

F.2d 88, 90 (3d Cir.1988) (citations omitted). “One of the requisite elements the government must

show in a conspiracy case is that the alleged conspirators shared a ‘unity of purpose’, the intent to

achieve a common goal, and an agreement to work together toward the goal.” United States v. Lee,

991 F.2d 343, 348 (6th Cir. 1993) (citation omitted). “In the absence of evidence of these essential

factors, a guilty verdict on a conspiracy charge cannot be sustained.” Id.

         The issue of guilt or innocence in a conspiracy is always an individualized inquiry. Kotteakos

v. United States, 328 U.S. 750, 772 (1946) (“Guilt with us remains individual and personal, even as

respects conspiracies. It is not a matter of mass application.”). The government must prove the

intent of each individual conspirator to enter into the conspiracy, knowing of its objectives, and

agreeing to further its goals. Stone, 2012 WL 1034937 at *2. Moreover, when an alleged conspiracy

implicates First Amendment protections such as freedom of speech and freedom of association, the

court must make a “specially meticulous inquiry” into the government’s evidence so there is not

“an unfair imputation of the intent or acts of some participants to all others.” United States v.

Dellinger, 472 F.2d 340, 392 (7th Cir. 1972). Because the government’s proofs in this case consist

overwhelmingly of speech and association, the Court must take “particular care to analyze the

evidence against each defendant to determine whether it is capable of convincing beyond a

reasonable doubt.” Stone, 2012 WL 1034937 at *3.




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                                           ARGUMENT

I.      No Reasonable Jury Could Conclude Beyond a Reasonable Doubt that Vallejo
        Conspired to Forcibly Hinder or Delay the Certification Process on January 6

        The evidence at trial demonstrated that up until the very hour it started, Vallejo had no

intent to stop the certification and passionately wanted to see its outcome. Then, when thousands

of protestors and some Oath Keepers began traveling east toward the Capitol grounds, Vallejo was

traveling west with no ability to know what individual Oath Keepers were thinking or deciding. The

trial record showed that throughout the afternoon of January 6, Vallejo tried to figure out who was

responsible for forcibly entering the Capitol, and there is no evidence he supported those who did.

Rather, the government’s case against Vallejo consisted of (1) a guilt-assuming, evidence-eschewing

interpretation of offers of help that were entirely consistent with the hypothesis of innocence; and

(2) Vallejo’s statements and actions concerning how to respond to the post-certification

environment that, while heated, bore no relationship to the certification process, were accompanied

by condemnation of those who acted violently on January 6, and occurred in the context of seeking

direction from the President. On this record, the jury’s conviction of Vallejo for allegedly conspiring

with those who entered the Capitol without his knowledge or approval cannot survive the “specially

meticulous inquiry” the Court must make to ensure there is no “unfair imputation of the intent or

acts of some participants to all others.” Dellinger, 472 F.2d at 392.

     A. The evidence established that there was no Oath Keeper plan to disrupt the
        certification—by force or otherwise—prior to the afternoon of January 6

        There does not appear to be a dispute that there was no Oath Keeper plan to interrupt the

certification process by force prior to January 6. The government did not introduce any witnesses

or documentary evidence indicating that interrupting the certification process was something the

Oath Keepers considered prior to January 6. On the contrary, all of the government’s fact witnesses

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confirmed that there was no plan to do anything relating to the Capitol until right up to the moment

people went there, and no plan to enter the Capitol by those who entered until moments before they

did. See Tr. 3581–82 (Herrington) (“A. We heard explosions, and naturally it’s what – I don’t know

if it’s what normal people do, that’s what soldiers do, they look toward the direction of the sound,

and we saw smoke so we started moving toward that area, sir. Q. And at that point, no one had told

you that it was the plan for you to go to the Capitol, right? A. No, sir. It was more or less, There’s

something bad happening over there, we need to get there over and see what’s happening.”); Tr.

3892–93 (Ulrich) (“Q. And at no point on the 5th or the 6th did you have any conversation with

anybody about using force to interfere with whatever proceeding Congress was going to conduct

that day, did you? A. Correct.”); Tr. 3921–22 (Ulrich) (“Q. When you came to Washington, D.C.,

you had no plan to try to stop the certification, correct? A. No. Q. And you had no plan to try to

violently or forcibly keep Joe Biden out of the White House, right? A. No….Q. So no Oath Keeper

that you ever spoke with discussed with you a plan to forcibly stop Joe Biden from becoming

President, correct? A. Correct.”); Tr. 2665 (Berry) (“Q. You planned to be there for security detail,

correct? A. That was the original intent, yes, ma’am.”). Indeed, in the first trial, the government

conceded that there was no prior Oath Keeper plan to enter the Capitol or interrupt the certification

process. See Trial 1 Tr. Tr. 9911:8–11 (Nov. 18, 2022) (“The defendants are not charged with

entering into an agreement ahead of time, ahead of January 6th, to storm the United States Capitol.

That is not the allegation in this case.”); Trial 1 Tr. 10296:5–8 (Nov. 21, 2022) (“Let me be clear

on behalf of the United States of America, we do not allege a specific plan to storm the United States

Capitol. We never have and we are not now. We do not have to prove a plan.”).

       Forced to concede that there was no plan to interrupt the certification process until

moments before Oath Keepers ascended the Capitol steps—or in the case of Ulrich, moments

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before he crossed the threshold into the Capitol—the government attempted at trial to argue that

the “plan” agreed to by the conspirators was to generally “use any means necessary including using

force to stop the transfer of power from President Donald Trump to President-Elect Joe Biden.”

Tr. 888; Tr. 4426 (“[T]he conspiracy began with the broad goal of stopping the transfer of power

by any means necessary up to and including the use of force….”). There are three problems with

this argument, however.

         First, even this “broad” conspiracy claim was contradicted by witness testimony. Brian

Ulrich was asked whether he had or was aware prior to walking up the Capitol steps of a “plan to

try to violently or forcibly keep Joe Biden out of the White House.” Tr. 3921. He denied any such

plan. Id.; id. at 3922 (“Q. So no Oath Keeper that you ever spoke with discussed with you a plan to

forcibly stop Joe Biden from becoming President, correct? A. Correct.”).

         Second, the government’s formulation of an agreement to stop the transfer of power “by

any means necessary, up to and including the use of force,” Tr. 4426, is too vague to qualify as a

well-pled conspiratorial agreement. Although an “agreement” does not require the conspirators to

agree on all the details of their criminal scheme, the government is required to show the “essential

nature of the plan.” United States v. Treadwell, 760 F.2d 327, 336 (D.C. Cir. 1985) (citing Blumenthal

v. United States, 332 U.S. 539, 557 (1947)). This is because it is “essential to determine what kind

of agreement or understanding existed as to each defendant.” Id. This means that the government

must show that the co-conspirators “agreed to the same type of conduct.” Id. at 337 (emphasis in

original). And, as charged and convicted, this means the government was required to prove beyond

a reasonable doubt that each conspirator agreed to specifically hinder or delay the certification by

force.



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       Finally, the government’s dozens and dozens of blue bubbles discussing the use of force,

upon which it relies for its claim that there was a general agreement to stop the transfer of power by

force, uniformly refer to resistance to a perceived unconstitutional “regime” after the transfer of

power. In example after example, at trial and in its opposition to the Trial 1 defendants’ Rule 29

motion, the government pretended that calls for resistance to the Biden administration after January

20th reflected calls to use violence to stop the certification on January 6th or to somehow stop his

inauguration. As discussed above, Rhodes repeatedly and publicly made comments such as, “either

Trump gets off his ass and uses the insurrection Act to defeat the ChiCom puppet coup, or we will

have to rise up in insurrection (rebellion) Against the ChiCom puppet Biden. Take your pick.” Gov.

Ex. 6778 (Msg. 1.T.2186.50); see also id. (Msg. 1.S.233.1513) (To GA OK General Chat: “If he

doesn’t use the Insurrection Act to keep a ChiCom puppet out of the White House, then we will

have to fight a bloody revolution/ civil war to defeat the traitors.”)) But these calls for rebellion

against the Biden Administration, on their face, simply did not contemplate taking violent action

prior to January 20th, or even in the days or weeks afterwards, except as part of a President-

sanctioned call under the Insurrection Act. Prior to inauguration, until the last day, Rhodes

continued to pin his hopes on President Trump taking action. Tr. 4068.

        In a prominent example relied upon by the government at trial, Rhodes wrote on December

21, 2020:

       We need to push Tump to do his duty. If he doesn’t, we will do ours.
       Declare Independence.
       Defy
       Resist
       Defend
       Conquer or Die
       This needs to be our attitude.



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Gov. Ex. 5310 (Msg. 1.S.656.9254). Immediately after writing this, however, Rhodes made clear

that his calls for violence did not relate to the transfer of power or even its immediate aftermath. He

wrote:

         That’s what we need.
         Delegitimize them.
         Mock them.
         Make fun of them.
         Thumb your nose at “Gropy Joe, the Pretender-in-Chief” and “Heels Up” Harris,
         his Vice (Ridden) Pretender.
         Tar and feather them and hang them in effigy.
         Make it fun.
         But also make it deadly serious that we won’t comply. We will nullify.

EV 141. Asked about this message, Caleb Berry was forced to admit that Rhodes’ call to action was

about resisting the Biden Administration down the road, not about resisting the transfer of power

to Biden. See Tr. 2737 (Berry) (“Q. But nullify in American history has happened when people

thought the U.S. Government was doing things that was unconstitutional, correct? A. Correct. Q.

And what he anticipated being unconstitutional by the U.S. Government was President Biden doing

things as President when he wasn’t constitutionally elected, right? A. Correct. Q. Okay. So he’s

saying he will resist President Biden, right? A. Correct. Q. And nullify acts of President Biden, right?

A. Correct…. Q. And President Biden became President on January 20th, right? A. Correct.”).

         The government’s trial presentation and Rule 29 opposition even relied upon messages

expressly discussing allowing the certification to proceed without any intent to use force to hinder or

delay it. See, e.g., Gov. Ex. 9514 (Msg. 1.S.656.9619) (“We need to surround the Capitol all the way

around with Patriots screaming so they hear us inside! Scare the hell out of them with about a million

surrounding them should do the trick!”); Id. (Rhodes: “I think Congress will screw him over. The

only chance we/he has is if we scare the shit out of them and convince them it will be torches and

pitchforks time is they don’t do the right thing. But I don’t think they will listen.”); id. (Msg.

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1.S.656.10094-95) (“If Congress rubber stamps an unconstitutional fraud President Trump must

defend the Constitution and we URGE him to use the Insurrection Act to do so.”); Gov. Ex. 6923

(Msg. 2001.C.2 ) (“It begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the

streets. Let them try to certify some crud on capitol hill with a million or more patriots in the streets.

This kettle is set to boil….”).

        Likewise, the government relied heavily on Rhodes’s December open letter stating that if

the President failed to take action to stop the fraudulent election results from being certified, Rhodes

and others may have to “take to arms in defense of our God given liberty.” Gov. Ex. 1008. But it

ignores that this open letter provided instructions for Trump for a “post-Jan 6” scenario where

Congress certified the electon, showing that there was no intent to disrupt it. Specifically, it

discussed Trump calling forth the militia as part of a plan to hold a new, constitutional election, and

states that if Trump fails to take these steps and allows Biden to assume the presidency, only then

will they “take up arms” and fight an “illegitimate regime,” after “declaring independence” from

that “regime.” Id.

        Similarly, the government’s Trial 1 Rule 29 opposition relied on Rhodes’s “Critical

Message for Oath Keepers and Patriots Part I,” which he posted to the OLD Leadership CHAT on

January 14. Gov. Ex. 9073.1 (Msg. 1.S.696.19133). In that document, Rhodes wrote:

        Now that it is regretfully becoming clear that President Trump will not be taking
        the decisive action we urged him to take, using the Insurrection Act and a
        declass/data dump, let’s follow the Founders’ game plan, using their strategies and
        methods, which focused first on declarations of illegitimacy, nullification (declaring
        unconstitutional acts to be null and void from inception, and refusing to obey them),
        unified mass non‐compliance with unconstitutional and oppressive actions and
        then on self defense, mutual defense, and resistance when the domestic enemies of
        the Constitution come for us. That’s how the Founders did it, and it worked. There
        is nothing new under the sun. Let us adapt their game plan to our current situation.



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Id. But in focusing on the revolutionary nature of the message, the government ignores that Rhodes

is clearly talking about a plan of longterm resistance to a post-inauguration, post-transfer of power

administration, after formal declarations of independence and illegitimacy.

        It may be true, as the government argued in Trial 1 and in rebuttal in Trial 2, that these

messages by Rhodes and others amounted to prospective calls for sedition down the road against

the Biden administration should it take office. But they do nothing to demonstrate that the Oath

Keepers had reached a criminal agreement prior to January 6 to stop the transfer of power “by any

means necessary, up to and including the use of force.” Tr. 4426. There was simply nothing in the

government’s trial presentation to support the conclusion, much less beyond a reasonable doubt,

that one of the agreed-upon purposes of the Oath Keepers’ January 5–6 “Op” was to forcibly resist

the transfer of power on their own if President Trump failed to persuade Congress or failed to

invoke the Insurrection Act.

       Rather, the trial evidence abundantly established that the anger and frustration reflected in

these sorts of messages caused some of the Oath Keepers to react to a spontaneous and unplanned

situation on January 6 by joining the crowd of protestors and entering the Capitol building. While

there was evidence that there were discussions and agreements reached by at least some who

entered the Capitol that day, the trial evidence abundantly established that any such discussions

took place immediately before Oath Keeper members ascended the stairs of the Capitol—and no

sooner. And the evidence established that there were separate decision points reached by Line 1 and

Line 2, with neither group making a joint decision with the other, and that even within each line

there were separate individual decision points, with members of each group staying back while other

members went into the Capitol (e.g., Cummings in Line 1 and Jackson in Line 2, Tr. 3887–88).



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       B.      There was no basis to conclude beyond a reasonable doubt that Vallejo knew
               about, much less joined, any late-formed agreement to stop the certification

       Since no reasonable juror could conclude that any Oath Keepers planned to forcibly

interfere with the certification process any sooner than moments before Oath Keepers ascended the

Capitol steps around 2:35 p.m., no reasonable juror could find beyond a reasonable doubt that

Vallejo joined in such an uncommunicated plan. Indeed, Vallejo’s 2:24 p.m. offer of help—which

stated simply, in a time of chaos, “Let me know how I can assist,” EV 104 at 7—was sent before any

of the alleged conspiratorial decision points were even reached: before the Meggs-Greene-Rhodes

telephone call, before the Line 1 “huddle,” before the Line 2 golf cart ride, and before Ulrich’s

hesitation on the stairs. No reasonable juror could conclude that Vallejo’s offer was part of a

conspiracy to forcibly interfere with the certification that had not even been formed yet.

       Nor was there any evidence at trial that Vallejo was ever made aware during the afternoon

of January 6 that Oath Keepers from Line 1 and Line 2 had decided to join protesters in an attempt

to hinder the certification process. He was seven miles away, and there were no messages in the

“DC Op: Jan 6 21” Signal chat that would have clued him into such a conspiratorial agreement;

indeed, Oath Keepers were generally posting self-serving descriptions of assistance. The fact that

Vallejo had been planning to go into D.C. that morning (as he had the previous day) rebuts any

inference that he was part of an agreed-upon plan to serve as a conveyor of weapons that day,

particularly since he left the hotel at the worst possible time if that was his intent. And while Vallejo

referenced “QRF” in his 2:38 p.m. message, evidence at trial established that the QRF was

expected to be an emergency response force that would “save lives” “if things went really bad”

and could “get folks OUT, sick, hurt, just too cold” and “get them home.” EV 143; Tr. 2478–79;

Tr. 2665–66.


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       On this record, any conclusions about what Vallejo knew or intended from seven miles away

would simply reflect impermissible “‘conjecture and surmise,’” Stone, 2012 WL 1034937 at *10

(quoting Coppin, 1 F. App’x at 291), rather than proof beyond a reasonable doubt of his “intent,

knowledge of and agreement to join a conspiracy,” Coppin, 1 F. App’x at 291. See also Wexler, 838

F.2d at 91 (“In a series of cases, this court has been obliged to overturn conspiracy convictions

because the defendant was not proven to have knowledge of the illegal objective contemplated by

the conspiracy. The inferences rising from ‘keeping bad company’ are not enough to convict a

defendant for conspiracy.”).

       While Vallejo’s many real-time condemnations of those who broke into the Capitol or acted

violently could conceivably have been a self-serving form of covering of his tracks, as the government

argued, and while Vallejo could conceivably have abandoned his oft-repeated desire to see the

outcome of the certification process, the opposite is equally if not more plausible. As a defendant

who never expressed any desire to interrupt the certification; expressed excitement about

anticipated objections, EV 122; EV 123; EV 130; talked about waiting and watching its outcome on

the very morning of January 6, Gov. Ex. 1054; was not on any prior Oath Keeper chats or conference

calls; came to Washington independently to “support the process and the president,” EV 101, and

to hold Congress’s “feet to the fire,” EV 101.1, after watching a podcast calling for lawful, peaceful

protests, EV 139; was wandering around downtown D.C. truck-less when the certification started,

EV 801; condemned violence at the Capitol as “domestic terrorism,” Tr. 4157; was seven miles

removed from the events at the Capitol; never communicated with any other Oath Keepers by

phone or text during the events at the Capitol; was never given any weapons to store by any other

Oath Keepers; had never been seen and was not known by any of the Oath Keepers who entered

the Capitol, Tr. 2738–39; was limited to reading messages describing positive Oath Keeper conduct

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on the “D.C. Op: Jan 6 21” Signal chat on January 6; viewed videos of Trump supporters stopping

violence at the Capitol and opposing lawlessness on January 6, EV 150B, EV 903; and offered his

trucks and assistance well before there was even any conspiratorial agreement by those who entered

the Capitol, EV 104, it simply cannot be contested that “the hypothesis of innocence” regarding

any conspiracy to interrupt the certification cannot been ruled out, Curley, 160 F.2d at 233, and that

no reasonable juror adhering to the requirement of avoiding assumptions and conjecture could have

failed to harbor reasonable doubts.

       That is not to say that the record is void of violent rhetoric by Vallejo or expressions of

support for the protestors who surrounded the Capitol. Regardless of how upset Vallejo was at the

certification outcome, however, or how literal his references to “war” may have been, the evidence

at trial was uniform in establishing that Vallejo was eagerly awaiting the outcome of the certification

all the way up to January 6 and that all of his heated rhetoric referred to a post-certification scenario

that he was waiting to see unfold. Since the jury’s verdict was based solely on hindering or delaying

the certification process, and not any general opposition to the authority of the United States in the

post-certification context, Vallejo’s statement on January 7 that we are “AT WAR” and other post-

certification activity cannot support a conclusion beyond a reasonable doubt that he knew about and

joined in a criminal conspiracy with those who entered the Capitol that afternoon. See Stone, 2012

WL 1034937, at *13 (“It stands to reason that most, if not all, of these Defendants had a strong

dislike—perhaps hatred—of the Federal Government and law enforcement at every level….The

evidence certainly suggests that Stone strongly believed in the idea of a need to go to war with

certain enemies….But, the Court would need to engage in conjecture and surmise to find sufficient

evidence that Defendants ‘shared a ‘unity of purpose’, the intent to achieve a common goal, and an

agreement to work together toward the goal.’”) (quoting Wexler, 838 F.2d at 90).

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        Any contrary conclusion would simply be impermissible and insufficient “conjecture and

surmise” about what was in Vallejo’s mind on the afternoon of January 6, Stone, 2012 WL 1034937

at *10, based at most upon “layer[s] of inference,” regarding how he felt about how to respond on

January 7th and beyond, Griffith, 867 F.3d at 1278. That is especially true if the Court undertakes,

as it must, a “specially meticulous inquiry” into the government’s speech-based evidence to ensure

there is no “unfair imputation of the intent or acts of some participants to all others.” Dellinger, 472

F.2d at 392.

II.     Co-Defendants’ Memorandum

        In addition to the above points and authorities, Defendant Vallejo respectfully adopts the

points and authorities in the Trial 1 defendants’ Amended Memorandum of Points and Authorities

in further Support of their Rule 29 Motion (ECF 435-1).

                                          CONCLUSION

        For the foregoing reasons, Defendant Vallejo respectfully requests that the Court enter a

judgment of acquittal on all counts.



February 28, 2023                                      Respectfully submitted,

                                                       /s/ Matthew J. Peed .
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